           Case 1:18-vv-00579-UNJ Document 61 Filed 11/22/21 Page 1 of 4




    In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 18-579V
                                          UNPUBLISHED


    HOLLY A. BURGES, Personal                                   Chief Special Master Corcoran
    Representative of the Estate of Sharen
    Kraft,                                                      Filed: October 14, 2021

                         Petitioner,                            Special Processing Unit (SPU);
    v.                                                          Damages Decision Based on Proffer;
                                                                Influenza (Flu) Vaccine; Guillain-
    SECRETARY OF HEALTH AND                                     Barre Syndrome (GBS)
    HUMAN SERVICES,

                         Respondent.


Paul R. Brazil, Muller Brazil, LLP, Dresher, PA, for Petitioner.

Colleen Clemons Hartley, U.S. Department of Justice, Washington, DC, for
Respondent.


                                 DECISION AWARDING DAMAGES 1

        On April 23, 2018, Sharen Kraft filed a petition for compensation under the National
Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq. 2 (the “Vaccine
Act”). Petitioner alleges that Sharen Kraft suffered from Guillain-Barre Syndrome (“GBS”)
as a result of an influenza vaccine administered on October 4, 2015. Petition at 1. The
case was assigned to the Special Processing Unit of the Office of Special Masters.

     On May 31, 2019, a ruling on entitlement was issued, finding Petitioner entitled to
compensation for GBS. On October 12, 2021, Respondent filed a proffer on award of
compensation (“Proffer”) indicating Petitioner should be awarded $139,795.30 (consisting

1
   Because this unpublished Decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the Decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
          Case 1:18-vv-00579-UNJ Document 61 Filed 11/22/21 Page 2 of 4



of $137,500.00 for pain and suffering and $2,295.30 for past unreimbursed expenses).
Proffer at 1. In the Proffer, Respondent represented that Petitioner agrees with the
proffered award. Id. Based on the record as a whole, I find that Petitioner is entitled to an
award as stated in the Proffer.

        Pursuant to the terms stated in the attached Proffer, I award Petitioner a lump
sum payment of $139,795.30 (comprised of $137,500.00 for pain and suffering and
$2,295.30 for past unreimbursed expenses) in the form of a check payable to
Petitioner, Holly A. Burgess, as the legal representative of the Estate of Sharen
Kraft. 3 This amount represents compensation for all damages that would be available
under Section 15(a).

       The clerk of the court is directed to enter judgment in accordance with this
decision. 4

IT IS SO ORDERED.


                                         s/Brian H. Corcoran
                                         Brian H. Corcoran
                                         Chief Special Master




3
 Holly A. Burgess has demonstrated that she is the legal representative of Ms. Kraft’s estate. Ex. 15.
4
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.


                                                    2
             Case 1:18-vv-00579-UNJ Document 61 Filed 11/22/21 Page 3 of 4




                 IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                           OFFICE OF SPECIAL MASTERS

                                                    )
 HOLLY A. BURGESS, Personal                         )
 Representative of the Estate of                    )
 SHAREN KRAFT,                                      )
                                                    )   No. 18-579V
                 Petitioner,                        )   Chief Special Master Corcoran
                                                    )   ECF
 v.                                                 )
                                                    )
 SECRETARY OF HEALTH AND HUMAN                      )
 SERVICES,                                          )
                                                    )
                 Respondent.                        )

               RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

        On April 23, 2018, Sharen Kraft filed a petition for vaccine injury compensation alleging

that she suffered Guillain-Barre Syndrome (“GBS”) as result of a flu vaccine administered on

October 4, 2015. On May 30, 2019, respondent conceded that entitlement to compensation was

appropriate under the terms of the Vaccine Act. On May 31, 2019, the special master issued a

Ruling on Entitlement finding that petitioner was entitled to compensation. On July 28, 2019,

Sharen Kraft died of causes unrelated to GBS. On October 18, 2019, Holly A. Burgess was

substituted as petitioner.

        I.       Items of Compensation

        Based upon the evidence of record, respondent proffers that petitioner should be awarded

$139,795.30, consisting of pain and suffering ($137,500.00) and past unreimbursed expenses

($2,295.30), which represents all elements of compensation to which petitioner would be entitled

under 42 U.S.C. § 300aa-15(a). Petitioner agrees.




                                                1
          Case 1:18-vv-00579-UNJ Document 61 Filed 11/22/21 Page 4 of 4




       II.     Form of the Award

       Respondent recommends that the compensation provided to petitioner be made through a

lump sum payment of $139,795.30 in the form of a check payable to petitioner as the legal

representative of the Estate of Sharen Kraft, deceased. 1 Petitioner agrees.

                                                      Respectfully submitted,

                                                      BRIAN M. BOYNTON
                                                      Acting Assistant Attorney General

                                                      C. SALVATORE D’ALESSIO
                                                      Acting Director
                                                      Torts Branch, Civil Division

                                                      HEATHER L. PEARLMAN
                                                      Deputy Director
                                                      Torts Branch, Civil Division

                                                      LARA A. ENGLUND
                                                      Assistant Director
                                                      Torts Branch, Civil Division

                                                      /s/ Colleen C. Hartley
                                                      COLLEEN C. HARTLEY
                                                      Trial Attorney
                                                      Torts Branch, Civil Division
                                                      U.S. Department of Justice
                                                      P.O. Box 146
                                                      Benjamin Franklin Station
                                                      Washington, D.C. 20044-0146
                                                      Phone: (202) 616-3644
                                                      Email: colleen.hartley@usdoj.gov
DATED: October 12, 2021




1 Holly A. Burgess, personal representative of the Estate of Sharen Kraft, deceased has
demonstrated that she is the legal representative of Ms. Kraft’s Estate for the purposes of 42
U.S.C. § 300aa-11(b)(1)(A). See Petitioner’s Exhibit 15.
                                                 2
